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SAIBER LLC
18 Columbia Turnpike, Suite 200
Florham Park, New Jersey 07932-2266
(973) 622-3333
Attorneys for Defendants

                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY

    DR. NORMAN ENDE, M.D.,
                                                       Civil Action No. __________
                                         Plaintiff,
                                                              NOTICE OF REMOVAL
                             v.
                                                            Document Filed Electronically
    RUTGERS UNIVERSITY, RUTGERS NEW
                                                       [On Removal from the Superior Court of
    JERSEY MEDICAL SCHOOL, ROBERT L.
                                                       New Jersey, Chancery Division, Morris
    JOHNSON, M.D., FAAP and JOHN DOES
                                                       County, Docket No. MRS-L-327-20]
    1-10,

                                         Defendants.

TO:        THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
           FOR THE DISTRICT OF NEW JERSEY

           PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1331 and 1441(a), Defendants,

Rutgers University, Rutgers New Jersey Medical School, and Robert L. Johnson, M.D., FAAP

(collectively “Defendants”), by and through their attorneys, Saiber LLC, file this Notice of

Removal of the above-captioned action from the Superior Court of New Jersey, Chancery

Division, Morris County, and respectfully state the following as the basis for removal to this

Court:1




1
    All Defendants consent to removal.


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I.         PROCEDURAL HISTORY AND PLAINTIFF’S ALLEGATIONS

           1.       On or about February 7, 2020, Plaintiff Dr. Norman Ende, M.D. (“Plaintiff”), filed

a Verified Complaint and Order to Show Cause (with supporting papers) (collectively “Plaintiff’s

Complaint and OTSC”) in the Superior Court of New Jersey, Chancery Division, Morris County,

Docket No. MRS-L-327-20. Copies of Plaintiff’s Complaint and OTSC are attached hereto as

Exhibits 1 and 2 respectively, which, pursuant to 28 U.S.C. § 1446(a), constitute all “process,

pleadings, and orders served upon” Defendants in this action.

           2.       Plaintiff’s Verified Complaint alleges claims arising under the Americans with

Disabilities Act (“ADA”), 42 U.S.C. § 12101, et seq. and the New Jersey Law Against

Discrimination, N.J.S.A. § 10:5-1, et seq.

           3.       Defendants received a copy of Plaintiff’s Complaint and OTSC on February 7,

2020.2

II.        BASIS FOR FEDERAL COURT JURISDICTION: FEDERAL QUESTION

           4.       Plaintiff alleges that Defendants violated the federal ADA statute by requiring him

to complete a fitness for duty examination and by forcing him out of his job due to age. Exh. 1,

Verified Complaint ¶ 28.

           5.       Accordingly, removal of this action is appropriate pursuant to 28 U.S.C. §§ 1331

and 1441(a) on the basis of this Court’s original jurisdiction of “all civil actions arising under the

Constitution, laws, or treaties of the United States.” 28 U.S.C. §§ 1331.




2
    Defendants have not yet been formally served.


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III.    DEFENDANTS HAVE SATISFIED THE PROCEDURAL REQUIREMENTS FOR
        REMOVAL

        6.      This Notice of Removal is being timely filed pursuant to 28 U.S.C. § 1446(b)

because Defendants have not yet been formally served with Plaintiff’s Complaint and OTSC and

the thirty-day period in which to file this Notice of Removal has not yet begun to run.

        7.      Pursuant to 28 U.S.C. § 1441(a), venue is proper in the United States District Court

for the District of New Jersey because it is the “district and division embracing the place where

such action is pending.”

        8.      In accordance with 28 U.S.C. § 1446(d), Defendants will file a Notice of this Notice

of Removal with the Clerk of the Superior Court of New Jersey, Chancery Division, Morris

County, and will serve a copy of same on Plaintiff.

        9.      No previous application has been made for the relief requested herein.

        10.     If any question arises as to the propriety of the removal of this action, Defendants

respectfully request the opportunity to brief any disputed issues and to present oral argument in

support of its position that this case is properly removable.

        11.     Nothing in this Notice of Removal shall be interpreted as a waiver or

relinquishment of Defendants’ rights to assert any procedural or substantive defense.

        12.     By removing this action, Defendants do not admit to any of the allegations in

Plaintiff’s Complaint and OTSC.

        WHEREFORE, Defendants hereby seek to remove the state court action, Superior Court

of New Jersey, Chancery Division, Morris County, Docket No. MRS-L-327-20, to this Court

pursuant to 28 U.S.C. §§ 1331 and 1441(a).




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                                  Respectfully submitted,

                                  SAIBER LLC
                                  Attorneys for Defendants


                                  By:    s/ William F. Maderer
                                         WILLIAM F. MADERER

Dated: February 11, 2020




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                CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 11.2

        On behalf of Defendants, I certify that, to the best of my knowledge, the matter in

controversy is not the subject of any other action pending in any court, other than the matter in the

Superior Court of New Jersey, Chancery Division, Morris County, Docket No. MRS-L-327-20

from which Defendants seek removal, or of any pending arbitration or administrative proceeding.



                                                      s/ William F. Maderer
                                                      WILLIAM F. MADERER

Dated: February 11, 2020




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                              CERTIFICATION OF SERVICE

        I hereby certify that, on this date, a true and correct copy of the foregoing Notice of

Removal was served upon the following via Federal Express delivery:

                                  Donald S. Dinsmore, Esq.
                                  CASHA & CASHA, LLC
                                 115 Horseneck Road, Suite 2
                                 Montville, New Jersey 07045
                                    Attorneys for Plaintiff
                                   Dr. Norman Ende, M.D.


                                                   s/ William F. Maderer
                                                   WILLIAM F. MADERER

Dated: February 11, 2020




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                      Exhibit 1
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                       Exhibit 2
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Donald S. Dinsmore, Esquire
Attorney ID #000402007
Casha & Casha, LLC
115 Horseneck Road, Suite 2
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(973) 263-1114
Attorneys for the Plaintiff Dr. Norman Ende, M.D.
                                            :
DR. NORMAN ENDE, M.D.,                      :       SUPERIOR COURT OF NEW JERSEY
               Plaintiff                    :       CHANCERY DIVISION: MORRIS COUNTY
                                            :       GENERAL EQUITY PART
v.                                          :
                                            :       DOCKET NO.
RUTGERS UNIVERSITY, RUTGERS :
NEW JERSEY MEDICAL SCHOOL,                  :       Civil Action
ROBERT L. JOHNSON, M.D., FAAP               :
and JOHN DOES 1-10,                         :       ORDER TO SHOW CAUSE WITH
               Defendants.                  :       TEMPORARY RESTRAINTS PURSUANT
____________________________________:               TO RULE 4:52


This matter being brought before to the court by Donald S. Dinsmore, Esquire, attorney for

Plaintiff, Dr. Norman Ende, M.D., seeking relief by way of temporary restraints pursuant to R. 4:52,

based upon the facts set forth in the Verified Complaint filed herewith; and it appearing that

immediate and irreparable damage will probably result before notice can be given and a hearing

held, and for good cause shown.



It is on this ______ day of ____________, 2020, ORDERED that



Defendants, Rutgers University, Rutgers New Jersey Medical School and Dean Robert L. Johnson,

M.D., F.A.A.P., appear and show cause before the Superior Court at the Morris County Courthouse,

Washington and Court Street in Morristown, New Jersey 07963 at _____ o’clock in the noon or as

soon thereafter as counsel can be heard, on the _____ day of ___________, 2020 why an order
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should not be issued preliminarily enjoining and restraining Defendants, Rutgers University,

Rutgers New Jersey Medical School, Robert L. Johnson, M.D., FAAP, from:

       1.      Discontinuing requests for a fitness of duty evaluation;

       2.      Reinstating Dr. Ende to his responsibilities in the classroom and regarding research

               for Rutgers New Jersey Medical School;

       3.      Granting any damages deemed appropriate by the Court; and

       4.      Granting such other relief as the Court deems equitable and just.



And it is further ORDERED that pending the return date herein, the Defendant are temporarily

enjoined and restrained from:

       1.      Preventing Dr. Norman Ende from performing his duties in both the classroom and

               with regard to research for Rutgers University; and

       2.      Requesting a fitness of duty evaluation.

       3.      Removing Dr. Ende from employment with Rutgers.



And it is further ORDERED that:

1.     The Defendant may move to dissolve or modify the temporary restraints herein contained on

two (2) days’ notice to the Plaintiff’s attorney.

2.     A copy of this Order to Show Cause, Verified Complaint, legal memorandum and any

supporting affidavits or certifications submitted in support of this application be served upon the

Defendants by Registered Mail Return Receipt Requested within _____ days of the date hereof, in

accordance with R. 4:4-3 and R. 4:4-4, this being original process.
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3.      The Plaintiff must file with the court his Proof of Service of the pleadings on the Defendants

no later than three (3) days before the return date.

4.      Defendants shall file and serve a written response to this Order to Show Cause and the

request for entry of injunctive relief and Proof of Service by ____________.            The original

documents must be filed with the Clerk of the Superior Court in the county listed above. A

directory of these offices is available in the Civil Division Management Office in the county listed

above and online at njcourts.gov/forms/10153_deptyclerklawref.pdf. You must send a copy of your

opposition    papers    directly   to   Judge   ________________________,       whose    address    is

_____________________________, New Jersey. You must also send a copy of your opposition

papers to the Plaintiff’s attorney whose name and address appears above, or to the Plaintiff, if no

attorney is named above.       A telephone call will not protect your rights; you must file your

opposition and pay the required fee of $____________ and serve your opposition on your

adversary, if you want the court to hear your opposition to the injunctive relief the Plaintiff is

seeking.

5.      The Plaintiff must file and serve any written reply to the Defendant’s Order to Show Cause

opposition by _______________. The reply papers must be filed with the Clerk of the Superior

Court in the county listed above and a copy of the reply papers must be sent directly to the

chambers of Judge _____________________.

6.      If the Defendant does not file and serve opposition to this Order to Show Cause, the

application will be decided on the papers on the return date and relief may be granted by default,

provided that the Plaintiff files a Proof of Service and a proposed form of order at least three days

prior to the return date.
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7.        If the Plaintiff has not already done so, a proposed form of order addressing the relief sought

on the return date (along with a self-addressed return envelope with return address and postage)

must be submitted to the court no later than three (3) days before the return date.

8.        Defendant take notice that the Plaintiff has filed a lawsuit against you in the Superior Court

of New Jersey. The Verified Complaint attached to this Order to Show Cause states the basis of the

lawsuit. If you dispute this complaint, you, or your attorney, must file a written answer to the

Complaint and Proof of Service within 35 days from the date of service of this Order to Show

Cause; not counting the day you received it.

These documents must be filed with the Clerk of the Superior Court in the county listed above. A

directory of these offices is available in the Civil Division Management Office in the county listed

above and online at njcourts.gov/forms/10153_deptyclerklawref.pdf. Include a $__________ filing

fee payable to the “Treasurer State of New Jersey.” You must also send a copy of your Answer to

the Plaintiff’s attorney whose name and address appear above, or to the plaintiff, if no attorney is

named above. A telephone call will not protect your rights; you must file and serve your Answer

(with the fee) or judgment may be entered against you by default. Please note: Opposition to the

Order to Show Cause is not an Answer and you must file both. Please note further: if you do not

file and serve an Answer within 35 days of this Order, the Court may enter a default against you for

the relief plaintiff demands.

9.        The Court will entertain argument, but not testimony, on the return date of the Order to

Show Cause, unless the Court and parties are advised to the contrary no later than ______ days

before the return date.



                                                                                      J.S.C.
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Attorney ID #000402007
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(973) 263-1114
Attorneys for the Plaintiff Dr. Norman Ende, M.D.
                                            :
DR. NORMAN ENDE, M.D.,                      :             SUPERIOR COURT OF NEW JERSEY
               Plaintiff                    :             CHANCERY DIVISION: MORRIS COUNTY
                                            :             GENERAL EQUITY PART
v.                                          :
                                            :             DOCKET NO.
RUTGERS UNIVERSITY, RUTGERS :
NEW JERSEY MEDICAL SCHOOL,                  :             Civil Action
ROBERT L. JOHNSON, M.D., FAAP               :
and JOHN DOES 1-10,                         :             FINAL ORDER
               Defendants.                  :
____________________________________:

This matter being brought before to the court by Donald S. Dinsmore, Esquire, attorney for

Plaintiff, Dr. Norman Ende, M.D., AND THE Court having reviewed the moving papers and

Certification in support thereof, and for good cause shown;

          It is on this ______ day of ____________, 2020,

          ORDERED AND ADJUDGED that:

          1.        Requests for a fitness of duty evaluation;

          2.        Reinstating Dr. Ende to his responsibilities in the classroom and regarding research

                    for Rutgers New Jersey Medical School;

          3.        Granting any damages deemed appropriate by the Court; and

          4.        Granting such other relief as the Court deems equitable and just.

Be and the same is hereby

Dated: _________________

                                                                                        J.S.C.
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